Case 1:15-cr-00825-ALC Document 60 Filed 01/07/19 Page 1of1

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
15 CR 825 - 001 (ALC)
- against -
ORDER
Elliot Halberstam,
Defendant
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It is hereby ORDERED that the Clerk of the Court pay the attached invoice
submitted by MCC Consulting Inc., in the amount of $4,500, for professional
services rendered in connection with the above captioned case.

SO ORDERED,
VEAL
Dated: New York, New York

(Andie 7 Cong

Honorable Andrew L. Carter Jr.
USS. District Judge

